          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR251-5


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )           ORDER
                                          )
                                          )
JOHN EDWARD PATTERSON                     )
                                          )


      THIS MATTER is before the Court on the Defendant’s appeal from

the denial by the Magistrate Judge of his motion for reconsideration of

release pending sentencing.



                        I. PROCEDURAL HISTORY

      The Defendant was indicted on October 3, 2006, with conspiracy to

possess with intent to distribute 50 grams or more of cocaine base. Bill of

Indictment, filed October 3, 2006. On February 13, 2007, the Defendant

entered into a plea agreement with the Government pursuant to which he

pled guilty to the bill of indictment and agreed that he was responsible for

more than 150 grams but less than 500 grams of cocaine base. Plea




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Agreement, filed February 13, 2007. The Defendant, therefore, faces a

mandatory minimum sentence of 10 years and not more than life

imprisonment. 21 U.S.C. § 841(b)(1)(A)(iii). On February 21, 2007, the

Defendant entered his plea of guilty at a Rule 11 hearing.

      Citing the Defendant’s significant past criminal history, including his

convictions for violent crimes, robbery and indecent liberties with a minor,

the Magistrate Judge ordered him detained pending trial. The Defendant

moved the Magistrate Judge to reconsider release pending sentencing. By

written order, the Magistrate Judge declined to order conditions of release.

Order, filed February 21, 2007.



                        II. STANDARD OF REVIEW

      The judicial officer shall order that a person who has been
      found guilty of an offense [for which a maximum term of
      imprisonment of ten years or more is prescribed in the
      Controlled Substance Act] and is awaiting imposition or
      execution of sentence be detained unless-
             (A)(i) the judicial officer finds there is a substantial
      likelihood that a motion for acquittal or new trial will be granted;
      or
             (ii) an attorney for the Government has
             recommended that no sentence of imprisonment be
             imposed on the person; and
             (B) the judicial officer finds by clear and convincing
      evidence that the person is not likely to flee or pose a danger to
      any other person or the community.


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18 U.S.C. § 3143(a)(2).



                              III. DISCUSSION

      The Defendant cannot meet the requirements of this statute. Under

the statutory language, the Defendant cannot show that there is a

substantial likelihood that a motion for acquittal or new trial will be granted

or that the Government has recommended that no sentence of

imprisonment be imposed. This Court is, therefore, required to order

detention pending sentence, as the language of the statute is mandatory.



                                 IV. ORDER

      IT IS, THEREFORE, ORDERED that the Defendant’s appeal is

DENIED, and the Magistrate Judge’s Order of Detention is hereby

AFFIRMED.

                                        Signed: March 5, 2007




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